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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   MATTHEW C. BOCKMON, Bar #161566
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   RONALD W. GROVES
 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
11   UNITED STATES OF AMERICA,          )   NO. CR-S-07-0229 FCD
                                        )
12                  Plaintiff,          )   STIPULATION AND ORDER CONTINUING
                                        )   STATUS CONFERENCE
13        v.                            )
                                        )
14   RONALD W. GROVES, and              )   Date: July 14, 2008
     DONALD C. MANN,                    )   Time: 10:00 a.m.
15                                      )   Judge: Honorable Frank C.
                    Defendants.         )   Damrell, Jr.
16                                      )
     _______________________________
17
18        It is hereby stipulated and agreed to between the United States of
19   America through R. Steven Lapham, Assistant United States Attorney,
20   RONALD W. GROVES, by and through his counsel, Matthew C. Bockmon,
21   Assistant Federal Defender, and DONALD C. MANN, by and through his
22   counsel, DWIGHT M. SAMUEL, that the status conference presently
23   scheduled for May 27, 2008, be vacated and rescheduled for status
24   conference on July 14, 2008, at 10:00 a.m.
25        This continuance is being requested because of on-going defense
26   investigation and preparation and because counsel for Defendant Ronald
27   W. Groves is not available on May 27, 2008.
28        IT IS FURTHER STIPULATED that the period from May 27, 2008,
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 1   through and including July 14, 2008, be excluded in computing the time
 2   within which trial must commence under the Speedy Trial Act, pursuant
 3   to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4 for continuity and
 4   preparation of counsel.
 5   Dated: May 23, 2008
                                               Respectfully submitted,
 6
                                               DANIEL J. BRODERICK
 7                                             Federal Defender
 8                                             /s/ Matthew C. Bockmon
                                               ________________________________
 9                                             MATTHEW C. BOCKMON
                                               Assistant Federal Defender
10                                             Attorney for Defendant
                                               RONALD W. GROVES
11
12                                             /s/ Matthew C. Bockmon for
                                               _________________________________
13                                             DWIGHT M. SAMUEL
                                               Attorney for Defendant
14                                             DONALD C. MANN
15
16   Dated: May 23, 2008
17                                             MCGREGOR W. SCOTT
                                               United States Attorney
18
                                               /s/ Matthew C. Bockmon for
19                                             _________________________________
                                               R. STEVEN LAPHAM
20                                             Assistant U.S. Attorney
                                               per telephonic authority
21
22
23                                        O R D E R
24
     IT IS SO ORDERED.
25
     Dated:    May 23, 2008
26                                             _________________________________
                                               FRANK C. DAMRELL, JR.
27                                             United States District Judge
28


     Stip & Order                              2
